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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                          Case No.: 15-MD-2670 JLS (MDD)
12   PRODUCTS ANTITRUST LITIGATION
                                                      ORDER GRANTING JOINT
13                                                    MOTION FOR APPROVAL OF
                                                      STIPULATION REGARDING
14
                                                      RENEWED MOTIONS TO SEAL
15
16                                                    (ECF No. 2322)
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18         Presently before the Court is Parties’ Joint Motion For Approval of Stipulation
19   Regarding Renewed Motions to Seal (ECF No. 2322). Good cause appearing, the Court
20   GRANTS the Motion and Approves the Stipulation, subject to several modifications:
21         1.    By August 28, 2020, the Parties shall meet and confer to exchange lists of all
22   documents which they intend to move to maintain under seal and those that they will no
23   longer seek to maintain under seal.
24         2.    By September 10, 2020, each Designating Party shall submit a Motion to Seal,
25   which will identify any materials that that Party seeks to keep under seal, including the
26   compelling reasons for sealing those documents. The Parties must ensure the motions to
27   seal and the proposed documents lodged under seal are filed consecutively on the docket,
28   and that the filings are linked on CM/ECF.

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 1         3.     Within ten (10) days of the entry of the Court’s Order on the Motions to Seal,
 2   the Parties shall refile in accordance with this Order any briefs, statements of fact, and
 3   supporting exhibits, whether previously filed under seal or not, related to any still-pending
 4   summary judgment or Daubert motion filed in September 2019. The Parties shall meet
 5   and confer to ensure that the filings are refiled in the proper sequence to avoid confusion
 6   on the case docket. In addition to refiling in the proper sequence (i.e., motions first,
 7   oppositions second, and replies third), the Parties will ensure that for each filing, the
 8   publicly filed documents and the documents lodged under seal are filed consecutively on
 9   the docket, and that the filings are linked on CM/ECF. If a Designating Party did not file
10   a Motion to Seal on September 10, 2020 for a particular document or portion of a document
11   filed in the record that they previously marked as “Confidential” or “Highly Confidential,”
12   then that document shall be refiled unsealed by the Parties and made public in the filings
13   made pursuant to this paragraph.
14         4.     The Court requests that the Parties prepare a chart with the CM/ECF docket
15   numbers of the sealed and publicly filed documents for each motion, opposition, reply, and
16   statements of fact (if filed separately). The Court requests that the Parties also include the
17   CM/ECF docket numbers of the previously filed documents.
18         IT IS SO ORDERED.
19   Dated: August 7, 2020
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